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  Information to identify the case:

 Chapter 11 cases for the below-listed debtors (the “Debtors”) were filed in the United States Bankruptcy Court for the
 District of Nevada on August 3__, 2018. The Debtors’ cases are jointly administered for procedural purposes under Case
             14683-leb.
 No. 18-BK-______-___.

   Gump’s Holdings, LLC -- Federal  Tax Identification
                             EIN XX-XXXXXXX            No. ______________, Bk Case No. 18-BK-_____-___
                                              -- BK-18-14683-leb
   Gump’s Corp. -- Federal Tax Identification
                    EIN XX-XXXXXXX            No. ______________, Bk Case No. 18-BK-_____-___
                                     -- BK-18-14684-leb
   Gump’s By Mail, Inc. -- Federal Tax Identification
                           EIN XX-XXXXXXX             No. ______________, Bk Case No. 18-BK-_____-___
                                            -- BK-18-14685-leb




Official Form 309F (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency,
repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge
may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at the address
listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk’s office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.


1. Debtors' full names                              The Debtors' full names are as stated in the
                                                    table entitled "Information to identify the cases"

2. All other names used in the last 8 years Gump's San Francisco
                                            Gump's
3. Address                                  135 Post Street
                                            San Francisco, CA 94108
4. Debtor's attorney                                Garman Turner Gordon LLP                             Contact phone: (725) 777-3000
                                                    650 White Drive, Suite 100                           Contact email: wnoall@gtg.legal
                                                    Las Vegas, NV 89119
                                                    Attn: William M. Noall
5. Bankruptcy clerk's office                        U.S. Bankruptcy Court                                Hours of Operation: 9:00 am - 4:00 pm,
You may inspect all records file in this case at    District of Nevada                                                    Monday - Friday,
this office or online at www.donlinrecano.com/      Foley Federal Building                                                closed Federal
gumps (at no cost) or www.pacer.gov                 300 Las Vegas Boulevard South                                         Holidays.
(registration required). Filing in the bankruptcy   Las Vegas, NV 89101                                  Contact phone: (702) 527-7000
case is governed by the Court's order enclosed
herewith and the applicable Local Rules


6. Meeting of creditors                      Date: September 6, 2018                                     Location: U.S. Bankruptcy Court
Debtors must attend the meeting to be        Time: 4:00 p.m.                                                       District of Nevada, Rm. #1500
questioned under oath. Creditors may attend,                                                                       Foley Federal Building
but are not required to do so.                                                                                     300 Las Vegas Boulevard S.
                                                                                                                   Las Vegas, NV 89101

                                                                                                           For more information, see page 2     ►
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                        Case 18-14683-leb               Doc 73        Entered 08/16/18 10:52:33                      Page 2 of 2
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




7.    Proof of claim deadline          Deadline for filing proof of claim:
                                              October 2, 2018 at 4:00 pm for all persons and entities other than governmental units (as
                                              defined in section 101(27) of the Bankruptcy Code); and
                                              January 30, 2019 at 4:00 pm for governmental entities.
If Proof of Claim is sent by
                                       A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may be obtained at
mail, send to:
                                       www.uscourts.gov or any bankruptcy clerk’s office.
Donlin, Recano & Company, Inc.
Re: Gump's Holdings, LLC,et al.        Your claim will be allowed in the amount scheduled unless:
P.O. Box 199043
Blythebourne Station                    your claim is designated as disputed, contingent, or unliquidated;
Brooklyn, NY 11219                      you file a proof of claim in a different amount; or
If Proof of Claim is sent by            you receive another notice.
overnight courier or hand              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must file
delivery, send to:
                                       a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may file
Donlin, Recano & Company, Inc
Re: Gump's Holdings, LLC, et al.       a proof of claim even if your claim is scheduled.
6201 15th Avenue
Brooklyn, NY 11219                     You may review the schedules at the bankruptcy clerk’s office or online at www.pacer.gov.

                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                       claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                       example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including
                                       the right to a jury trial.

                                       You must start a judicial proceeding by filing a complaint if you want to have a debt excepted from
8.    Exception to discharge           discharge under 11 u.s.c. § 1141(d)(6)(A)
      deadline
      The bankruptcy clerk’s office
                                       Deadline for filing the complaint:                            None
                                                                                                     _________________
      must receive a complaint and
      any required filing fee by the
      following deadline.


9.    Creditors with a foreign         If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
      address                          extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                       any questions about your rights in this case.


10.   Filing a Chapter 11              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
      bankruptcy case                  confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
                                       may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and
                                       you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the
                                       debtor will remain in possession of the property and may continue to operate its business.

11.   Discharge of debts               Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                                       See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor
                                       except as provided in the plan. If you want to have a particular debt owed to you excepted from the discharge
                                       and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and paying the filing
                                       fee in the bankruptcy clerk’s office by the deadline.




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